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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION

UNITED STATES OF AMERICA,

               Plaintiff,
                                                              Case Number 09-20536-4-BC
v.                                                            Honorable Thomas L. Ludington

DALE HAWN,

               Defendant.

__________________________________________/


        ORDER ADOPTING REPORT AND RECOMMENDATION, ACCEPTING
     DEFENDANT’S GUILTY PLEA AS TO COUNT ONE, AND TAKING THE RULE 11
                   PLEA AGREEMENT UNDER ADVISEMENT

        A plea hearing was conducted on June 18, 2010, by U.S. Magistrate Judge Charles E. Binder

pursuant to the Defendant’s consent. The magistrate judge issued his report [Dkt. # 171] on June

18, 2010, recommending acceptance of Defendant’s guilty plea. Either party may serve and file

written objections “[w]ithin fourteen days after being served with a copy” of the report and

recommendations. 28 U.S.C. § 636(b)(1). The district court will make a “de novo determination

of those portions of the report . . . to which objection is made.” Id. Where, as here, neither party

objects to the report, the district court is not obligated to independently review the record. Thomas

v. Arn, 474 U.S. 140, 149–52 (1985).

        Accordingly, it is ORDERED that the magistrate judge’s report and recommendation [Dkt

# 171] is ADOPTED.
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       It is further ORDERED that the defendant’s guilty plea as to count one is ACCEPTED, and

the Rule 11 Plea Agreement [Dkt. # 167] is taken UNDER ADVISEMENT.

                                                      s/Thomas L. Ludington
                                                      THOMAS L. LUDINGTON
                                                      United States District Judge
Dated: July 2, 2010


                                               PROOF OF SERVICE

                       The undersigned certifies that a copy of the foregoing order was served
                       upon each attorney or party of record herein by electronic means or first
                       class U.S. mail on July 2, 2010.

                                                         s/Tracy A. Jacobs
                                                         TRACY A. JACOBS




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